












Dismissed and
Memorandum Opinion filed June 24, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00314-CV

____________

&nbsp;

BRIAN K. MCPHERSON, Appellant

&nbsp;

V.

&nbsp;

BRENDA TORRES AND PAUL MORALES, Appellees

&nbsp;

&nbsp;

&nbsp;



On Appeal from the 218th District Court

Karnes County, Texas

Trial Court Cause No. 09-07-00086-CV/K

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M&nbsp; O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is from a judgment signed January 26, 2010.&nbsp; The
clerk’s record was filed on March 15, 2010.&nbsp; The reporter’s record was filed March
30, 2010.&nbsp; No brief was filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 6, 2010, this Court issued an order stating that
unless appellant submitted his brief, together with a motion reasonably
explaining why the brief was late, on or before June 7, 2010, the Court would
dismiss the appeal for want of prosecution.&nbsp; See Tex. R. App. P. 42.3(b).








Appellant filed a
Request for Extension of Time to File Appeal seeking until September 6, 2010,
to obtain findings of fact and conclusions of law.&nbsp; This appeal is from
a chapter 14 dismissal.&nbsp; Because the case was not tried, appellant is not
entitled to findings of fact or conclusions of law.&nbsp; See Tex. R. App. P.
296.&nbsp; The request was denied.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As of this date, no brief has been filed.&nbsp; Accordingly, the
appeal is ordered dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices Brown,
Sullivan, and Christopher.





